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                                 UNITED STATES DISTRICT COURT
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                                WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
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        SEATTLE PACIFIC UNIVERSITY,                            CASE NO. 22-5540 RJB
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                                Plaintiff,                     ORDER ON DEFENDANT’S
12              v.                                             MOTION TO DISMISS
13      ROBERT FERGUSON, in his official
        capacity as Attorney General of
14      Washington,
15                              Defendant.

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17          This matter comes before the Court on the Defendant’s Motion to Dismiss. Dkt. 15. The

18   Court has considered the pleadings filed regarding the motion and the remaining record. It is

19   fully advised.

20          On July 27, 2022, Seattle Pacific University (“SPU” or “University”) filed this case after

21   receiving a letter from the Washington State Attorney General Robert Ferguson’s Office

22   (“AGO” or “Washington”) informing the University that it “was opening an inquiry to determine

23   whether the University is meeting its obligations under state law . . . specifically . . . employment

24   policies and practices that permit or require discrimination on the basis of sexual orientation . . .”


     ORDER ON DEFENDANT’S MOTION TO DISMISS - 1
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 1   Dkt. 1. The University is seeking declaratory relief and an injunction “prohibiting the [AG] from

 2   continuing with the current probe.” Id.

 3          On August 18, 2022, Washington moved to dismiss the case under Fed. R. Civ. P. 12(b),

 4   arguing that the University’s claims are not justiciable, that even if they were, the abstention

 5   doctrine announced in Younger v. Harris, 401 U.S. 37 (1971), applies. Dkt. 15. Washington

 6   further argues that the case should be dismissed for failure to state a claim on which relief can be

 7   granted. Id. On September 2, 2022, the University filed an Amended Complaint. Dkt. 16.

 8          Pursuant to Fed. R. Civ. P. 15(a)(1)(B), “a party may amend its pleading once as a matter

 9   of course . . . 21 days after service of a motion under Rule 21(b) . . .”

10          Washington’s Motion to Dismiss (Dkt. 15) should be denied without prejudice. SPU

11   filed an Amended Complaint as is its right under Rule 15(a)(1)(B). The University did not file

12   any other response to the motion to dismiss and Washington did not file a reply.

13          Accordingly, it is ORDERED that:

14          The Defendant’s Motion to Dismiss (Dkt. 15) IS DENIED WITHOUT PREJUDICE.

15          The Clerk is directed to send uncertified copies of this Order to all counsel of record and

16   to any party appearing pro se at said party’s last known address.

17          Dated this 12th day of September, 2022.

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19                                          A
                                            ROBERT J. BRYAN
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                                            United States District Judge
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     ORDER ON DEFENDANT’S MOTION TO DISMISS - 2
